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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

HENRY DAVIS, et al.,                 )
    Plaintiffs,                      )
                                     )   Case No. 3:16-cv-600-MAB
                                     )
      vs.                            )   Judge Mark A. Beatty
                                     )
ROB JEFFREYS,                        )
      Defendant.                     )


                     INDEX OF EXHIBITS IN SUPPORT OF
                   MEMORANDUM OF LAW IN SUPPORT OF
               PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION




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 Exhibit 1: Excerpts from the October 23, 2018 Deposition of Randy Scott Pfister (unsealed)

 Exhibit 2: Excerpts from the October 18, 2018 Deposition of Gladyse C. Taylor (unsealed)

 Exhibit 3: Declaration of Craig Haney, Ph.D., J.D. in Support of Plaintiffs’ Motion for
 Class Certification (September 6, 2019) (sealed)

 Exhibit 4: Expert Report of Eldon Vail (September 6, 2019) (sealed)

 Exhibit 5: State of Illinois – Department of Corrections Adjustment Committee - Final
 Summary Report                       (August 30, 2018) (0198765) (sealed)

 Exhibit 6: State of Illinois – Department of Corrections Adjustment Committee - Final
 Summary Report                       (April 5, 2017) (0325698) (sealed)

 Exhibit 7: State of Illinois – Department of Corrections Adjustment Committee - Final
 Summary Report                            (January 29, 2019) (0156324) (sealed)

 Exhibit 8: State of Illinois – Department of Corrections Adjustment Committee - Final
 Summary Report                       (November 14, 2011) (0316306) (sealed)

 Exhibit 9: Psychological Evaluation                 at the Pontiac Correctional Center
 (February 24, 1995) (0277774) (sealed)

 Exhibit 10: Mental Health Treatment Plan                  at Tamms Correctional Center
 (February 27, 2008) (0278396) (sealed)

 Exhibit 11: Mental Health Segregation Rounds Form                       at the Pontiac
 Correctional Center (October 2015) (0316415) (sealed)

 Exhibit 12: Mental Health Segregation Review                      at Tamms Correctional
 Center (September 21, 2012) (0316470) (sealed)

 Exhibit 13: Mental Health Services Referral                  at the Lawrence Correctional
 Center (September 15, 2014) (0237000) (sealed)

 Exhibit 14: Mental Health Progress Note                  at the Lawrence Correctional
 Center (January 3, 2019) (0237178) (sealed)

 Exhibit 15: State of Illinois – Department of Corrections Adjustment Committee - Final
 Summary Report                        (December 19, 2014) (0238190–95) (sealed)

 Exhibit 16: Email chain from Mike Atchison to Echo Beekman and others re proposed
 segregation\grievance regulations (August 2016) (037851-52) (unsealed)




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 Exhibit 17: Email chain from Joseph Yurkovich to Kevin Verbie and others re Administrative
 Detention Reviews (May 12, 2014) (052472–74) (sealed)

 Exhibit 18: Excerpts from the October 2, 2017 Deposition of James Austin, Ph.D. (unsealed)

 Exhibit 19: Excerpts from the October 17, 2018 Deposition of John Baldwin (unsealed)

 Exhibit 20: Excerpts from the October 22, 2018 Deposition of Mike Atchison (unsealed)

 Exhibit 21: Excerpts from the October 12, 2018 Deposition of Sandra Funk (unsealed)

 Exhibit 22: Excerpts from the June 26, 2018 Deposition of Henry Davis (unsealed)

 Exhibit 23: Excerpts from the October 21, 2015 Deposition of Douglas Coleman
 (Coleman, et al. v. Taylor, 15-CV-5596) (unsealed)

 Exhibit 24: Excerpts from the June 27, 2018 Deposition of Douglas Coleman (unsealed)

 Exhibit 25: Excerpts from the October 8, 2015 Deposition of Aaron Fillmore
 (Coleman, et al. v. Taylor, 15-CV-5596) (unsealed)

 Exhibit 26: State of Illinois – Department of Corrections Adjustment Committee - Final
 Summary Report                      (June 14, 2018) (0162826) (sealed)

 Exhibit 27: Excerpts from the October 28, 2015 Deposition of Douglas Coleman
 (Coleman, et al. v. Taylor, 15-CV-5596) (unsealed)

 Exhibit 28: Excerpts from the June 27, 2018 Deposition of Percell Dansberry (unsealed)

 Exhibit 29: Excerpts from the June 26, 2018 Deposition of DeShawn Gardner (unsealed)

 Exhibit 30: Excerpts from the January 26, 2018 Deposition of Kilsey Shearrill (unsealed)

 Exhibit 31: Excerpts from the June 26, 2018 Deposition of Aaron Fillmore (unsealed)

 Exhibit 32: Excerpts from the July 5, 2018 Deposition of Jerome Jones (unsealed)

 Exhibit 33: Mental Health Progress Note                   at the Pontiac Correctional
 Center (January 11, 2017) (0312281) (sealed)

 Exhibit 34: Excerpts from the October 15, 2018 Deposition of Kimberly Butler (unsealed)

 Exhibit 35: State of Illinois – Department of Corrections Adjustment Committee - Final
 Summary Report                       (October 10, 2016) (0181049) (sealed)




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                              CERTIFICATE OF SERVICE

      The undersigned counsel for Plaintiffs hereby certifies that on this 10th day of September,

2019, he caused a copy of the foregoing INDEX OF EXHIBITS IN SUPPORT OF

MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS

CERTIFICATION to be served by CM/ECF to all parties and counsel of record.



Dated: September 10, 2019                   By: /s/ Kimball R. Anderson
                                                Attorney for Plaintiffs

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